 

Case 3:15-cr-O0069-TKW-EMT Document 98 Filed 05/20/16 Page 1 of 7

FLND Form 245B (rev 12/2003) Judgment in a Criminal Case Page | of 7
3:1 5er69-002/MCR - WILLIAM R. LUCAS

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

UNITED STATES OF AMERICA

~VS- Case # 3:15cr69-002/MCR

WILLIAM R. LUCAS
USM # 51786-408

Defendant’s Attorney:
Clinton Couch (Retained)
317 North Spring Street
Pensacola, Florida 32501

 

JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Counts One and Two of the Indictment on February 10, 2016.
Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such counts which involve
the following offenses:

 

TITLE/SECTION NATURE OF DATE OFFENSE
NUMBER OFFENSE CONCLUDED COUNT
21 U.S.C. §§ Conspiracy to Distribute and Possess with March 20, 2015 One
841(b)(1)(A} viii) and Intent to Distribute Methamphetamine
841(a)(1)
21 U.S.C. §§ 843(b) Conspiracy to Utilize a Telephone Facility March 20, 2015 Two
and 846

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

Date of Imposition of Sentence:
May 18, 2016

NM. Casey

M. CASEY RODGE a
CHIEF UNITED STATES DISTRICT JUDGE

 

Date Signed: May Z0 , 2016

 
 

Case 3:15-cr-O0069-TKW-EMT Document 98 Filed 05/20/16 Page 2 of 7

FLND Form 245B (rev 12/2003) Judgment in a Criminal Case Page 2 of 7
3:1 5cr69-002/MCR - WILLIAM R, LUCAS

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 240 months as to Count One and 96 months as to Count Two, with
the terms to be served concurrently, one with the other. This sentence is ordered to run
concurrent to the yet-to-be imposed sentence in Escambia County Circuit Court Dkt. #15-CF-1204,
with this sentence to begin immediately. Further, as the defendant is in primary state custody, the
court recommends that the defendant be designated to a state prison facility for service of his
federal sentence.

Thereafter, for service of the remainder of his federal sentence, the court recommends to the
Bureau of Prisons that the defendant be designated to the Federal Prison Camp, Pensacola,
Florida, so that he may receive visitation from his family. Further, given his service related issues,
the court believes that family visitation is even more important in this case.

The court notes that there is not a firearm issue or enhancement in this case.

The court identifies the defendant as a person in need of a focused, intensive substance abuse
treatment program, both during incarceration and on reentry through a residential reentry center.

The court strongly recommends the defendant's placement into the BOP’s Residential Drug Abuse
Program as soon as possible. Additionally, while awaiting placement into RDAP, or, if deemed
ineligible for RDAP due to the time of sentence, or for any other reason, the court orders the
defendant to complete Drug Education classes and fully participate in the BOP’s nonresidential
drug abuse treatment program. In addition, the court recommends that the defendant shall
participate in any and all programming available for cognitive behavioral therapy.

The court recommends that the defendant be eligible for any special programming that the BOP
may have today that is available for veterans as it relates to his service related PTSD.

The defendant is remanded to the custody of the United States Marshal.

 

 

 

 

 

RETURN
| have executed this judgment as follows:
Defendant delivered on to at
, with a certified copy of this judgment.
UNITED STATES MARSHAL
By:

 

Deputy U.S. Marshal
 

Case 3:15-cr-O0069-TKW-EMT Document 98 Filed 05/20/16 Page 3 of 7

FLND Form 245B (vev 12/2003) Judgment in a Criminal Case Page 3 of 7
3;15cr69-002/MCR - WILLIAM R. LUCAS

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 10
years as to Count One and 1 year as to Count Two, with the terms to run concurrently, one
with the other.

The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from custody of the Bureau of Prisons.

The defendant shail not commit another federal, state, or local crime and shall not possess a
firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined
by the court.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

STANDARD CONDITIONS OF SUPERVISION

The defendant shall comply with the following standard conditions that have been adopted by this
court.

1. The defendant shall not leave the judicial district without the permission of the court or probation
officer:
2. The defendant shall report to the probation officer and shall submit a truthful and complete written

report within the first five days of each month;

3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
of the probation officer;

4, The defendant shail support his or her dependents and meet other family responsibilities:

5. The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
_ schooling, training, or other acceptable reasons:

6, The defendant shail notify the probation officer at least 10 days prior to any change in residence or
employment;
7. The defendant shall refrain from excessive use of alcoho! and shall not purchase, possess, use,

distribute, or administer any controlled substance or any paraphernalia related to any controlled
substances, except as prescribed by a physician:

8. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered:

9. The defendant shall not associate with any persons engaged in criminal activity and shall not
associate with any person convicted of a felony unless granted permission to do so by the probation
officer:
 

Case 3:15-cr-O0069-TKW-EMT Document 98 Filed 05/20/16 Page 4 of 7

FLND Form 245B (rev 12/2003) Judgement in a Criminal Case Page 4 of 7
3:1 5cr69-002/MCR - WILLIAM R, LUCAS

10. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view of the probation officer;

11. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by
a law enforcement officer;

12, The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court; and

13, As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement.

14. If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
the Criminal Monetary Penalties sheet of this judgment.

ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

The defendant shall also comply with the following additional conditions of supervised release:

1. The defendant shall be evaluated for substance abuse and mental health, and referred to treatment
as determined necessary through an evaluation process. Treatmentis not limited to, but may include
participation in a Cognitive Behavior Therapy program. The defendant may be tested for the presence
of illegal controlled substances or alcohol at any time during the term of supervision.

2. The defendant shall submit his person, property, house, residence, vehicle, to a search conducted
by a United States probation officer. Failure to submit to a search may be grounds for revocation of
release. The defendant shall warn any other occupants that the premises may be subject to searches
pursuant to this condition. An officer may conduct a search pursuant to this condition only when
reasonable suspicion exists that the defendant has violated a condition of his supervision and that
the areas to be searched contain evidence of this violation. Any search must be conducted at a
reasonable time and in a reasonable manner.
 

Case 3:15-cr-O0069-TKW-EMT Document 98 Filed 05/20/16 Page 5 of 7

FLND Form 245B (rev 12/2003) Judgment in a Criminal Case Page 5 of 7
3:15cr69-002/MCR - WILLIAM R. LUCAS

Upon a finding of a violation of probation or supervised release, | understand the Court may (1)
revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.

These conditions have been read to me. | fully understand the conditions and have been provided
a copy of them.

 

Defendant Date

 

U.S. Probation Officer/Designated Witness Date
 

Case 3:15-cr-O0069-TKW-EMT Document 98 Filed 05/20/16 Page 6 of 7

FLND Fortin 245B (rev 12/2003) Judgement in a Criminal Case Page 6 of 7
3:15¢169-002/MCR - WILLIAM R. LUCAS

CRIMINAL MONETARY PENALTIES

All criminal monetary penalty payments, except those payments made through the Bureau of
Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District Court,
unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S. District
Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments can
be made in the form of cash if paid in person.

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest on
any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

SUMMARY
Special
Monetary Assessment Fine Restitution
$200.00 Waived None

SPECIAL MONETARY ASSESSMENT
A special monetary assessment of $200.00 is imposed.
FINE

No fine imposed.

RESTITUTION

No restitution imposed.
 

Case 3:15-cr-O0069-TKW-EMT Document 98 Filed 05/20/16 Page 7 of 7

FLND Form 245B (rev 12/2003) Judgment ina Criminal Case Page 7 of 7
3:15cr69-002/MCR - WILLIAM R. LUCAS

SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-federal
victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; and (7)
penalties in full immediately.

Breakdown of fine and other criminal penalties is as follows:
Fine: Waived SMA: $200.00 Restitution: None Cost of Prosecution: None

The $200.00 monetary assessment shall be paid immediately. Any payments of the monetary
assessment and the fine made while the defendant is incarcerated shall be made through the
Bureau of Prisons’ Inmate Financial Responsibility Program. The defendant must notify the court
of any material changes in the defendant's economic circumstances, in accordance with 18 U.S.C.
§§ 3572(d), 3664(k) and 3664(n). Upon notice of a change in the defendant's economic condition,
the Court may adjust the installment payment schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664 (f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U.S. probation officer shall pursue collection of the amount
due. The defendant will receive credit for all payments previously made toward any criminal
monetary penalties imposed.
